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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

CHRISTOPHER LISOWSKI, individually                CIVIL ACTION NO. 2:19-cv-1339-MJH
and on behalf of all others similarly situated,

                       Plaintiff,                                     .

               v.

HENRY THAYER COMPANY, INC. and
L’ORÉAL USA, INC.

                       Defendants.

                        JOINT STIPULATED PROTECTIVE ORDER

        The Court enters the following Protective Order pursuant to Federal Rule of Civil

Procedure 26(c)(1).

        1.     Findings: Upon agreement of the parties, the Court finds that the parties to this

case may request or produce information involving trade secrets or other confidential research,

development, or commercial information, the disclosure of which is likely to cause harm to the

party producing such information.

        2.     Definitions:

               a)      “Party” means a named party in this case. “Person” means an individual

or an entity. “Producer” means a person who produces information via the discovery process in

this case. “Recipient” means a person who receives information via the discovery process in this

case.

               b)      “Confidential” information is information concerning a person’s business

operations, processes, and technical and development information within the scope of Rule

26(c)(1)(G), the disclosure of which is likely to harm that person’ competitive position, or the
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disclosure of which would contravene an obligation of confidentiality to a third person or to a

Court.

               c)      Information is not Confidential if it is disclosed in a printed publication, is

known to the public, was known to the recipient without obligation of confidentiality before the

producer disclosed it, or is or becomes known to the recipient by means not constituting a breach

of this Order. Information is likewise not Confidential if a person lawfully obtained it

independently of this litigation.

         3.    Designation of information as Confidential:

               a)      A person’s designation of information as Confidential means that the

person believes in good faith, upon reasonable inquiry, that the information qualifies as such.

               b)      A person designates information in deposition testimony as Confidential

by stating on the record at the deposition that the information is Confidential or by advising the

opposing party and the stenographer and videographer in writing, within 30 days after receipt of

the deposition transcript, that the information is Confidential.

               c)      A person’s failure to designate a document, thing, or testimony as

Confidential does not constitute forfeiture of a claim of confidentiality as to any other document,

thing, or testimony.

               d)      A person who has designated information as Confidential may withdraw

the designation by written notification to all parties in the case.

               e)      If a party disputes a producer’s designation of information as Confidential,

the party shall notify the producer in writing of the basis for the dispute, identifying the specific

document(s) or thing(s) as to which the designation is disputed and proposing a new designation

for such materials. The party and the producer shall then meet and confer to attempt to resolve


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the dispute without involvement of the Court. If they cannot resolve the dispute, the proposed new

designation shall be applied fourteen (14) days after notice of the dispute unless within that

fourteen-day period the producer files a motion with the Court to maintain the producer’s

designation. The producer bears the burden of proving that the information is properly designated

as Confidential. In the event such an application is made, the information shall remain subject to

the producer’s Confidential designation until the Court rules on the dispute. A party’s failure to

contest a designation of information as Confidential is not an admission that the information was

properly designated as such.

        4.      Use and disclosure of Confidential information:

                a)      Confidential information may be used exclusively for purposes of this

litigation, subject to the restrictions of this Order.

                b)      Absent written permission from the producer or further order by the Court,

the recipient may not disclose Confidential information to any person other than the following: (i)

a party’s outside counsel in this litigation, or any related litigation involving the transactions at

issue, including necessary paralegal, secretarial and clerical personnel assisting such counsel; (ii)

a party’s in-house counsel, including paralegal, secretarial and clerical personnel assisting such

counsel; (iii) a party’s officers and employees directly involved in this case whose access to the

information is reasonably required to supervise, manage, or participate in this case; (iv) a

stenographer and videographer recording testimony concerning the information; (v) subject to the

provisions of paragraph 4(c) of this order, experts, consultants and vendors and their staff whom a

party employs for purposes of this litigation only; and (vi) the Court and personnel assisting the

Court, including court-appointed mediators and their staffs.




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               c)      A party may not disclose Confidential information to an expert, consultant

or vendor pursuant to paragraph 4(b) of this order until after they have signed an undertaking in

the form of Appendix 1 to this Order. The party obtaining the undertaking must serve it on all

other parties within fourteen days after its execution. At least fourteen days before the first

disclosure of Confidential information to an expert, consultant or vendor (or member of their

staff), the party proposing to make the disclosure must serve the producer with a written

identification of the expert or consultant and a copy of his or her curriculum vitae or other

relevant identifier. If the producer has good cause to object to the disclosure (which does not

include challenging the qualifications of the expert or consultant), it must serve the party

proposing to make the disclosure with a written objection within fourteen days after service of

the identification. Unless the parties resolve the dispute within fourteen days after service of the

objection, the producer must move the Court promptly for a ruling, and the Confidential

information may not be disclosed to the expert, consultant or vendor without the Court’s

approval.

               d)      Notwithstanding paragraph 4(a) and (b), a party may disclose Confidential

information to: (i) any employee or author of the producer; (ii) any person, no longer affiliated

with the producer, who authored the information in whole or in part; and (iii) any person who

received the information before this case was filed.

               e)      A party who wishes to disclose Confidential information to a person not

authorized under paragraph 4(b) or 4(c) must first make a reasonable attempt to obtain the

producer’s permission. If the party is unable to obtain permission, it may move the Court to

obtain permission.




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                f)       Each party that designates information or items for protection under this

Order must take care to limit any such designation to specific material that qualifies under the

appropriate standards.

        5.      Notice to Non-Parties. Any party issuing a subpoena to a non-party shall enclose a copy

of this Protective Order with a request that, within ten (10) calendar days, the non-party either request the

protection of this Protective Order or notify the issuing party that the non-party does not need the

protection of this Protective Order or wishes to seek different protection.

        6.      Inadvertent Disclosure: Inadvertent disclosures of material protected by

the attorney-client privilege or the work product doctrine shall be handled in accordance with

Federal Rule of Evidence 502.

        7.      Filing with the Court:

                a)       This Protective Order does not, by itself, authorize the filing of any

document under seal. Notwithstanding any other provision of this Order, documents and things

may not be filed under seal with the Clerk of this Court unless such sealing is authorized by a

separate order in accordance with Local Civil Rule 5.2.H and the Court’s standing Order dated

January 27, 2005 (2:05-mc-00045-DWA) In re Confidentiality and Protective Orders in Civil

Matters.

                b)       If a party wishes to file in the public record a document that another

producer has designated as Confidential, the party must advise the producer of the document no

later than five business days before the document is due to be filed, so that the producer may

move the Court for leave to file the document under seal. If the party seeking to file the

Confidential document is also the producer of the document, no meet-and-confer requirement

between the parties applies, and the producing party shall defer to the standing orders and/or the

local rules of the Court for seeking leave to file documents under seal.
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         8.    Document Disposal: Promptly upon the conclusion of this case or the conclusion

of any related litigation involving the subject matter, whichever is later, each party must return to

the producer all documents and copies of documents containing the producer’s Confidential

information, and must destroy all notes, memoranda, or other materials derived from or in any

way revealing Confidential information. Alternatively, if the producer agrees, the party may

destroy all documents and copies of documents containing the producer’s Confidential

information. The party returning and/or destroying the producer’s Confidential information must

promptly certify in writing its compliance with the requirements of this paragraph.

Notwithstanding the requirements of this paragraph, a party and its counsel may retain one

complete set of all documents filed with the Court, remaining subject to all requirements of this

order.

         9.    Originals: A legible photocopy of a document may be used as the “original” for

all purposes in this action. The actual “original,” in whatever form the producing party has it,

must be made available to any other party within fourteen days after a written request.

         10.    Survival of Obligations: This Order’s obligations regarding Confidential

information survive the conclusion of this case.




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By the Parties:

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                                                 Counsel for Defendants Henry Thayer
                                                 Company, Inc. and L’Oréal USA, Inc.


SO ORDERED:


__________________________________________
Hon. Marilyn J. Horan




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                                 APPENDIX I
                        UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

       I, ______________ , state the following under penalties of perjury as provided by law:

       I have been retained by _____________ as an expert, consultant or vendor in connection

with this case. I will be receiving information that is covered by the Court’s Protective Order

dated ____________ I have read the Court’s Protective Order and understand that the

information is provided pursuant to the terms and conditions in that order.

       I agree to be bound by the Court’s Protective Order. I agree to use the information solely

for purposes of this case. I understand that neither the information nor any notes concerning that

information may be disclosed to anyone that is not bound by the Court’s Protective Order. I

agree to return the information and any notes concerning that information to the attorney for

________________ or to destroy the information and any notes at that attorney’s request.

       I submit to the jurisdiction of the Court that issued the Protective Order for purposes of

enforcing that order. I give up any objections I might have to that Court’s jurisdiction over me

or to the propriety of venue in that Court.

                                                     Name:____________________________
                                                     Title:_____________________________
                                                     Signature: _________________________


 Subscribed and sworn to
 before me this ____ day
 of __________ , 20___.



 Notary Public
